Case 3:11-cv-00651-G-BH Document 398 Filed 09/28/12    Page 1 of 12 PageID 3381



                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

                                                 CIVIL ACTION NO. 3:11-cv-00651-G
   H-W Technology, L.C.,
                                                 Judge A. Joe Fish Presiding
        Plaintiff,
        v.

   Apple Inc., et al.

        Defendants.
                                                 JURY TRIAL DEMANDED




     PLAINTIFF H-W TECHNOLOGY, L.C.’S RESPONSE TO DEFENDANTS’
    RENEWED MOTION TO DISMISS UNDER FRCP 12(B)(6) FOR FAILURE TO
         STATE A CLAIM UPON WHICH RELIEF CAN BE GRANTED
Case 3:11-cv-00651-G-BH Document 398 Filed 09/28/12                  Page 2 of 12 PageID 3382



           Plaintiff H-W Technology, L.C.’s (“H-W”) files this response to Defendants

   Amazon.com Incorporated, Amazon Payments, Inc., Buy.com, Inc., Google Inc., HTC

   Corporation, HTC America, Inc., Motorola Mobility, Inc., Samsung Electronics Co.,

   Ltd., Samsung Electronics America, Inc., and Samsung Telecommunications America,

   LLC (“Defendants”) Renewed Motion to Dismiss Under FRCP 12(b)(6) for allegedly

   failing to state a claim upon which relief can be granted (“Renewed Motion”).

      I.      INTRODUCTION AND SUMMARY OF ARGUMENT

           On August 8, 2011, the Defendants filed a Motion to Dismiss Under FRCP

   12(b)(6) for Failure to State a Claim Upon Which Relief Can Be Granted. After full

   briefing by the parties, the Magistrate Judge recommended that the Defendants’ Motion

   be denied. See Dkt. No. 316. On March 19, 2012, the District Judge accepted the

   Findings and Recommendation of the United States Magistrate Judge and denied the

   Defendants’ Motion to Dismiss.         See Dkt. No. 329.       On September 7, 2012 the

   Defendants filed their Renewed Motion to Dismiss arguing, inter alia, that the issues

   presented in their previously denied Motion to Dismiss are now ripe for consideration.

           As with its previous Motion to Dismiss, the Defendants’ Renewed Motion to

   Dismiss improperly seeks to have the court consider subject matter more appropriate for

   consideration in a summary judgment. Moreover, while claim construction briefing has

   been completed, the Defendants would have this court skip over the remainder of fact and

   expert discovery and conclude that there are no genuine issues of material fact left to be

   determined. Defendants’ motives are clear: get the Court to rule on the merits of H-W

   Technology’ cause of action before material issues of both fact and law have been

   adjudicated and to call such a ruling on the merits a failure to plead a cause of action.




                                                 2
Case 3:11-cv-00651-G-BH Document 398 Filed 09/28/12                    Page 3 of 12 PageID 3383



           At least one court in this district has held that claim indefiniteness is a matter that

   is more appropriately addressed through summary judgment. See Mannatech, Inc. v.

   TechMedia Health, Inc., 2009 WL 3614359. at *15 (N.D. Tex. Oct. 29, 2009)

   (determination of claim indefiniteness is not appropriate at the claim construction stage

   because “a court must first attempt to determine what a claim means before it can

   determine whether the claim is invalid for indefiniteness”). Another court in this circuit

   has refused to consider validity arguments even on a summary judgment motion,

   reasoning that claim construction had not yet occurred. See Innovention Toys, LLC v.

   MGA Entm’t,Inc., 2009 WL 424398, at *8 (E.D. La. Fed. 19, 2009) (“it is incumbent on a

   court to set forth its construction of any disputed terms before making findings on

   validity unless the court determines that the resolution of claim construction would not

   impact its ruling”).

           The foregoing notwithstanding, a simple review of claim 1 reveals that it is

   clearly directed to an IP Phone and not to a method of using an IP Phone. Similarly,

   claim 17 is directed to an apparatus, namely a tangible computer readable medium, and

   not to a method of using such a medium. Claims 1 and 17 of the ‘955 Patent incorporate

   functional limitations that limit the structure of the system or apparatus claims and inform

   one of ordinary skill in the art when these claims are infringed.

           By glossing over the claim language and triumphantly proclaiming claims 1 and

   17 of the ‘955 Patent as invalid, Defendants are in essence requesting summary judgment

   of this issue.   Moreover, the articulated concerns that courts have had with claims that

   purportedly recite both systems and methods are not presented by the claims of the ‘955

   Patent, as there is no confusion as to the nature or when they are infringed. Specifically,




                                                  3
Case 3:11-cv-00651-G-BH Document 398 Filed 09/28/12                 Page 4 of 12 PageID 3384



   courts that have dealt with similar arguments of indefiniteness have been primarily

   concerned with the problem of not being able to determine whether a claim is one

   directed at a system/apparatus or a method of using such a system/apparatus. Indeed, the

   difference between those cases and the instant case is that they were decided after the

   benefit of discovery and expert testimony and not prematurely on a motion to dismiss.

          Quite simply, Defendants’ Renewed Motion is yet another request for summary

   judgment. While the merits of infringement are rightly considered at trial or in a motion

   for summary judgment, such arguments are misplaced in a motion to dismiss—which

   considers merely the sufficiency of Plaintiff’s pleading of infringement. Defendants’

   conflation of the requirements for merely pleading a claim on the one hand, and proving

   the merits of that claim on the other, permeates the Motion. For the reasons previewed

   above and discussed below, H-W Technology respectfully requests that the Court deny

   Defendants’ Motion.

          II.     LEGAL STANDARDS

          Motions to Dismiss for Failure to State a Claim are viewed with disfavor and are

   seldom granted. See Collins v. Morgan Stanley Dean Witter, 224 F.3d 496, 498 (5th Cir.

   2000). To survive a motion to dismiss, a complaint must contain sufficient factual matter

   which, when accepted as true, states a claim for relief that is plausible on its face. See

   Twombly 550 U.S. at 570; Iqbal 129 S. Ct. at 1949. A claim has facial plausibility when

   a plaintiff pleads factual content that allows the court to draw a reasonable inference that

   the defendant is liable for the misconduct alleged. Twombly 550 U.S. at 556; Iqbal 129

   S. Ct. at 1949. “The plausibility standard is not akin to a ‘probability requirement,’ but it

   asks for more than a sheer possibility that a defendant has acted unlawfully.” Iqbal, 129




                                                4
Case 3:11-cv-00651-G-BH Document 398 Filed 09/28/12               Page 5 of 12 PageID 3385



   S. Ct. at 1949 (emphasis added). Thus, in ruling upon a Rule 12(b)(6) motion, the Court

   cannot decide disputed fact issues. The court may grant a motion under Rule 12(b)(6)

   only if it can determine with certainty that the plaintiff cannot prove facts that would

   allow the relief sought in the complaint. See Hishon v. King & Spalding, 467 U.S. 69, 73

   (1984); Scanlan v. Texas A&M Univ., 343 F.3d 533, 536 (5th Cir. 2003).

          III.    ARGUMENT

          A party seeking to invalidate a patent must overcome a presumption that the

   patent is valid. See 35 U.S.C. § 282; United States Gypsum Co. v. National Gypsum Co.,

   74 F.3d 1209, 1212 (Fed. Cir. 1996); Hibritech Inc. v. Monoclonal Antibodies, Inc., 802

   F.2d 1367, 1375 (Fed. Cir. 1986). This presumption places the burden on the challenging

   party to prove the patent’s invalidity by clear and convincing evidence. Microsoft Corp.

   v. i4i Limited Partnership, 131 S. Ct. 2238, 2242 (2011); United States Gypsum Co., 74

   F.3d at 1212. Close questions of indefiniteness “are properly resolved in favor of the

   patentee.” Datamize, LLC v. Plumtree Software, Inc., 417 F.3d 1342, 1348 (Fed. Cir.

   2005); Exxon Research & Eng’g Co. v. United States, 265 F.3d 1371, 1380 (Fed. Cir.

   2001). 35 U.S.C. § 112 requires that claims be particular and distinct. “The specification

   shall conclude with one or more claims particularly pointing out and distinctly claiming

   the subject matter which the applicant regards as his invention.” 35 U.S.C. § 112 ¶ 2. The

   primary purpose of the definiteness requirement is to ensure public notice of the scope of

   the patentee’s legal protection, such that interested members of the public can determine

   whether or not they infringe. Halliburton Energy Servs., Inc. v. M-I, LLC, 514 F.3d 1244,

   1249 (Fed. Cir. 2008).

          Thus, the definiteness inquiry focuses on how a skilled artisan understands the




                                               5
Case 3:11-cv-00651-G-BH Document 398 Filed 09/28/12                 Page 6 of 12 PageID 3386



   claims, and a claim is indefinite if the “accused infringer shows by clear and convincing

   evidence that a skilled artisan could not discern the boundaries of the claim based on the

   claim language, the specification, and the prosecution history, as well as her knowledge

   of the relevant art area.” Id. at 1249–50. “If the meaning of the claim is discernible, even

   though the task may be formidable and the conclusion may be one over which reasonable

   persons will disagree, . . . the claim [is] sufficiently clear to avoid invalidity on

   indefiniteness grounds.” Exxon Res. & Eng'g Co. v. United States, 265 F.3d 1371, 1375

   (Fed. Cir. 2001). Thus, a claim is indefinite only if its meaning and scope are “insolubly

   ambiguous.” Id.

          A.      Claim Construction Issues Are Implicated In Claims 1 And 17

          Defendants’ proclamation that no new information was raised in claim

   construction whether claims 1 and 17 are indefinite and invalid is quite simply. Both

   claims 1 and 17 include “user,” a term vigorously contested by the parties. In their

   previously denied Motion to Dismiss and by incorporation, their Renewed Motion to

   Dismiss, Defendants argue that claims 1 and 17 are invalid because they contain method

   steps requiring performance by a user and not the apparatus.          Plaintiff through its

   construction of the term “user,” vehemently disagrees. Plaintiff, supported by deposition

   testimony provided of the ‘955 patent’s first-named inventor, argues that a “user” can be

   software controlled by Defendants. (See Dkt. Nos. 360 and 368). Should the Court

   accept Plaintiff’s proposed construction for the term “user,” the Defendants’ arguments

   regarding the validity of claims 1 and 17 would fail. Indeed, the Defendants could no

   longer argue that claims 1 and 17 are directed to apparatuses and methods for using the

   apparatuses by a third party.




                                                6
Case 3:11-cv-00651-G-BH Document 398 Filed 09/28/12                Page 7 of 12 PageID 3387



          In addition to the dispute regarding the parties’ proposed constructions of the term

   user, the parties also dispute who controls the software (domain specific applications) on

   allegedly infringing IP Phones. For example, the Plaintiff’s expert will testify that the

   Defendants’ domain specific application which Plaintiff contends is a user, can complete

   transactions, transmit payment information, and select a variety of offers. Additionally,

   Plaintiff’s patent law expert, will testify that claims 1 and 17 are clearly understood and

   are not so insolubly ambiguous that the should be rendered invalid. At a minimum, a

   claim construction determination by the Court for the term user is necessary. Further, the

   Court should allow the Plaintiff to continue its discovery in this case as the parties

   fundamentally disagree not only about the construction of select terms, but also about the

   capabilities of their allegedly infringing IP Phones and capabilities of their domain

   specific applications. Indeed, the Court should not permit the Defendants to short circuit

   the discovery and summary judgment phase of this case because they are rushed to

   escape their infringement liability.

          B.      Claims 1 and 17 Are Distinguishable From Those In IPXL Holdings

                  1.      The Claims Invalidated by the IPXL Holdings Court Are Not
                          Analogous To Those Presented Here

          In addition to the foregoing, Plaintiff contends that claims 1 and 17 of the ‘955

   Patent are directed toward one statutory class of invention and as such, are not indefinite

   under the IPXL Holdings or In Re Katz line of cases. Not surprisingly, the Defendants

   argue that claims 1 and 17 are analogous to those in IPXL Holdings. Defendants’ Motion

   ignores the distinguishing characteristics between the claims found in the IPXL Holdings

   or In Re Katz Cases and those at issue here, ignores established case law about the

   impropriety of holding claims invalid prior to the Court’s claim construction and, is at



                                               7
Case 3:11-cv-00651-G-BH Document 398 Filed 09/28/12                Page 8 of 12 PageID 3388



   best, a premature attempt to get two bits at the proverbial summary judgment apple.

          The Federal Circuit recently clarified its holding in IPXL Holdings. In

   Microprocessor Enhancement Corp. v. Texas Instruments Inc., the Federal Circuit

   explained that apparatus claims are not necessarily indefinite for using functional

   language. 520 F.3d 1367, 1375 (Fed. Cir. 2008)(citing Halliburton Energy Servs. v. M-I

   LLC, 514 F.3d 1244, 1255 (Fed. Cir. 2008)). For example, functional language which

   merely describes the capability of the claimed invention will not render a claim invalid

   under IPXL Holdings. Id. This sort of language does not impermissibly mix two different

   statutory classes of subject matter. See Yodlee, Inc. v. Cashedge, Inc., No. 05–01550,

   2006 WL 3456610, at *4–6, (N.D. Cal. Nov. 29, 2006) (finding that the claims at issue

   are valid because they “describe what the apparatuses do, when used in a certain way.

   They do not claim use of the apparatuses”). Since evaluating indefiniteness arguments

   under IPXL Holdings, courts have repeatedly distinguished IPXL Holdings from

   situations in which the claim language offered sufficient notice to potential defendants as

   to the actions that would constitute infringement. See, e.g.,Yodlee, 2006 WL 3456610, at

   *4; Toshiba Corp. v. Juniper Networks, Inc., No. 03-1035, 2006 WL 1788479, at *4 (D.

   Del. June 28, 2006); Duhn Oil Tool, Inc. v. Cooper Cameron Corp., 474 F. Supp. 2d

   1148, 1164 (E.D. Cal. 2007).

          Reading the claims in light of cases applying IPXL Holdings, however, suggests

   that Defendants’ position is misplaced. Yodlee, 2006 WL 3456610, at *5 (citing ‘073

   patent at 10:2–13 and 11:11–24); see also Toshiba Corp. v. Juniper Networks, Inc., 2006

   WL 1788479, at *4 (evaluating the claim term “wherein the control message processing

   unit communicates with the next hop node . . . .”). Unlike the claims in IPXL Holdings




                                               8
Case 3:11-cv-00651-G-BH Document 398 Filed 09/28/12                                                                                                              Page 9 of 12 PageID 3389



   however, the 955’ patent does not seek to patent use of the infringing device (i.e.

   selection of a variety of offers), it does however seek to patent IP phones, which have

   certain capabilities. Indeed, as Plaintiff’s have consistently argued, not all IP phones are

   accused in this case. Nowhere in either claim is their an attempt to include a method for

   using a system comprising an Internet Phone coupled to a server or a method for using a

   tangible computer readable medium. Moreover, the wherein clauses Defendants seek to

   characterize as method steps, are in fact functional limitations that limit certain of the

   recited structural elements. Quite simply, the disputed wherein clauses do not claim or

   attempt to claim a method of using an IP Phone. Thus, claims 1 and 17 of the ‘955 Patent

   do not recite an apparatus and a method in a single claim. This dispute highlights the

   need for expert testimony and underscores why Defendants’ Motion to Dismiss should be

   denied in their entirety.

                                                           2.                Claims 1 and 17 Create No Infringement Confusion.

                     Claims 1 and 17 of the ‘955 Patent create no confusion as to when the claims are

   infringed and, as such, Defendants’ Renewed Motion should be denied. Confusion was

   the central issue guiding the holding in both IPXL and In Re Katz in which the Court

   noted “the claims […] create confusion as to when direct infringement occurs.” In re

   Katz, 639 F.3d 1303 at 1328 (Fed. Cir.2011). As discussed above, the In re Katz Court

   distinguished claims of the patent in question from those in Microprocessor

   Enhancement Corp. v. Texas Instruments, Inc.,1 where a challenge to the validity of

   claims having both method and system limitations was overcome by the patent holder.

                     Here, claims 1 and 17 of the ‘955 Patent are more analogous to those found in

   Microprocessor Enhancement Corp. as opposed to those in In re Katz. Here, like in
   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
   1
       	  520 F.3d 1367, 1374-75 (Fed. Cir. 2008)	  


                                                                                                                 9
Case 3:11-cv-00651-G-BH Document 398 Filed 09/28/12                   Page 10 of 12 PageID 3390



    Microprocessor Enhancement Corp., the wherein clauses of claims 1 and 17 are not

    impermissible method steps, but instead are structural limitations on the type of IP Phone

    necessary for infringement. As the wherein clauses make clear, only IP Phones with the

    necessary structure capable of performing certain transactions are at issue. In this regard,

    the infringing actor is clear, namely the manufacturer of the IP Phone capable of

    completing certain merchant transactions. In view of the foregoing, Defendants’ Motion

    should be denied.

                   3.      Defendants Have Not Met Their High Burden of Showing
                           Indefiniteness.

           Under 35 U.S.C. § 112, ¶ 2, the claims of a patent must “particularly point[ ] out

     and distinctly claim[ ] the subject matter which the applicant regards as his invention.” “A

     claim is considered indefinite if it does not reasonably apprise those skilled in the art of its

     scope.” IPXL Holdings, L.L.C. v. Amazon.com, Inc., 430 F.3d 1377, 1383-84

     (Fed.Cir.2005). “Because a claim is presumed valid, a claim is indefinite only if the ‘claim

     is insolubly ambiguous, and no narrowing construction can properly be adopted.’ ”

     Honeywell Int'l, Inc. v. Int'l Trade Comm'n, 341 F.3d 1332, 133839 (Fed.Cir.2003)

     (quoting Exxon Research & Eng'g Co. v. United States, 265 F.3d 1371, 1375

     (Fed.Cir.2001)). In their Renewed Motion, Defendants did not even attempt to rebut the

     potential for a narrowing construction. Since the claims of the ‘955 Patent are presumed

     valid, for this reason alone, the Defendants’ Motion should be denied.

           C.      A Dispute Exists With Respect to Claim 9

           While the Plaintiff agrees with the Defendants that the parties have a fundamental

    dispute as to the construction of the term user, Plaintiff disagrees that the record is

    adequately developed and the issue may be decided concurrently with claim construction.



                                                  10
Case 3:11-cv-00651-G-BH Document 398 Filed 09/28/12                Page 11 of 12 PageID 3391



    Certainly, the Court’s claim construction order would shed light on the parties’ dispute,

    given the Federal Circuit’s recent holding in Akamai Technologies, Inc. v. Limelight

    Networks, Inc., Nos. 2009-1372, -1380, -1416, -1417, and McKesson Technologies, Inc.

    v. Epic Systems Corp., No. 2010-1291 (Fed. Cir. Aug. 31, 2012) (en banc) (collectively

    “Akamai”) the claim construction would be not necessarily be dispositive.          Under

    Akamai, the Federal Circuit held that a party may be liable for induced patent

    infringement where the active infringement is accomplished by a single actor or through

    multiple actors having no agency or other relationship to the inducing party that would

    render the inducing party “vicariously liable” for direct patent infringement. Indeed,

    even under the Defendants’ construction of the term “user” the Defendants could still be

    liable for inducing infringement. A dismissal with prejudice of Plaintiff’s claims against

    Defendants would forever preclude such a finding in spite of the Federal Circuit’s ruling.

    Such a result is untenable and unduly prejudices the Plaintiff. In view of the foregoing,

    Defendants’ Renewed Motion should be denied.

           III.    CONCLUSION

           Whether or not Defendants ultimately prevail against H-W infringement claims

    after discovery and claim construction is not the proper domain of a Rule 12(b)(6)

    motion. The issue that Defendants’ Motion purports to place before this Court is whether

    H-W Technology has failed to state a claim upon which relief may be granted. As

    illustrated above, the amended complaint properly states a claim upon which relief may

    be granted under the FED. R. CIV. P. 8 pleading standard. Defendants’ Motion conflates

    the proper assertion of a claim and the subsequent burden of proving the merits of that

    claim. For the foregoing reasons, Plaintiff H-W Technology, LLC, respectfully requests




                                               11
Case 3:11-cv-00651-G-BH Document 398 Filed 09/28/12                Page 12 of 12 PageID 3392



    that the Court deny Defendants’ Renewed Motion to Dismiss.



                                                    Respectfully Submitted,

    Dated: September 28, 2012                       /s/ Winston O. Huff

                                                    Winston O. Huff, Attorney in Charge
                                                    State Bar No. 24068745
                                                    302 N. Market Street, Suite 450
                                                    Dallas, TX 75202
                                                    214.749.1220 (Firm)
                                                    214.749.1233 (Fax)
                                                    whuff@navarrohuff.com

                                                    ATTORNEYS FOR PLAINTIFF
                                                    H-W TECHNOLOGY, L.C.


                                CERTIFICATE OF FILING

           I hereby certify that on September 28, 2012, I electronically filed the
    foregoing document with the Clerk of the Court using the CM/ECF system.


                                                        Respectfully submitted,


                                                        By:     /s/ Winston O. Huff




                                   CERTIFICATE OF SERVICE

           The undersigned certifies that the foregoing document was filed electronically
    in compliance with Local Rule CV-5(a). As such, this notice was served on all counsel
    who have consented to electronic service. Local Rule CV-5(a)(3)(A). Pursuant to Fed.
    R. Civ. P. 5(d) and Local Rule CV-5(e), all other counsel of record not deemed to have
    consented to electronic service were served with a true and correct copy of the foregoing
    by U.S. mail, on this the 28th day of September, 2012.

                                                         By: /s/ Winston O. Huff




                                               12
